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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF DELAWARE

 SHIVA STEIN,                                      )
                                                   )
                       Plaintiff,                  )
                                                   ) Case No. 1:20-cv-01095-MN
        v.                                         )
                                                   )
 INNERWORKINGS, INC., JACK M.                      )
 GREENBERG, CHARLES K. BOBRINSKOY,                 )
 LINDSAY Y. CORBY, DAVID FISHER,                   )
 ADAM J. GUTSTEIN, JULIE M. HOWARD,                )
 KIRT P. KARROS, RICH STODDART, and                )
 MARC ZENNER,                                      )
                                                   )
                       Defendants.                 )

                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), plaintiff hereby

voluntarily dismisses the above-captioned action (the “Action”). Defendants have filed neither an

answer nor a motion for summary judgment in the Action.

 Dated: October 12, 2020                            RIGRODSKY & LONG, P.A.

                                               By: /s/ Brian D. Long
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